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 4       559.233.3333
 5
         Attorney for Defendant
 6       MONIQUE LE NGUYEN
 7
 8                     IN THE UNITED STATES DISTRICT COURT
 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11       UNITED STATES OF AMERICA,  )        Case No: 07 cr 316 LJO-6
                                    )
12            Plaintiff,            )        STIPULATION TO CONTINUE
                                    )        SENTENCING AND
13            vs.                   )        ORDER
                                    )        AS AMENDED
14                                  )
         MONIQUE LE NGUYEN,         )         NOTE: NEW DATE
15                                  )
              Defendant.            )
16       ___________________________)
17              It is stipulated and agreed between the parties that
18       sentencing in the above matter currently set for November 12,
19       2010 at 10:00, a.m. be continued to December 3, 2010 at 10:00
20       a.m.   (Court Holiday Friday 11/26/2010).
21              I hereby agree to the above stipulation.
22       DATED: October 26, 2010
23
24       by: s/J. M. Irigoyen,
             J. M. Irigoyen, Esq.
25           Attorney for Defendant
             MONIQUE LE NGUYEN
26
27
28
     Case 1:07-cr-00316-DAD-SKO Document 158 Filed 10/27/10 Page 2 of 2


 1             I hereby agree to the above stipulation.
 2       Dated: October 26, 2010
 3       s/Karen Escobar
         Karen Escobar
 4       Assistant U.S. Attorney
 5
 6
                                         ORDER
 7
 8
               It is so ordered.
 9
10
         Dated: October 27, 2010
11
12
         _/s/ Lawrence J. O’Neill_
13       HON. LAWRENCE J. O’NEILL
         United States District Judge
14
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